                         UNITED STATES BANKRUPTCY COURT
                                  District of Delaware
                              824 Market Street, 3rd Floor
                                 Wilmington, DE 19801


In Re:                                                         Chapter: 7
Akorn Holding Company LLC

5605 CenterPoint Court
Gurnee, IL 60031
 EIN: 85−2979190                                               Case No.: 23−10253−KBO




                             NOTICE THAT THERE ARE ASSETS FROM
                    WHICH A DIVIDEND MIGHT POSSIBLY BE PAID TO CREDITORS

YOU ARE HEREBY NOTIFIED that there are assets from which a dividend might possibly be paid to creditors.

In order to share in any distribution, a creditor must file a proof of claim with the Clerk of the Bankruptcy Court.
Claims must be filed within ninety (90) days after service of this notice.

For governmental entities, the proof of claim deadline shall be the longer of one−hundred eighty (180) days after the
petition was filed or ninety (90) days after this Notice of Assets is served or as otherwise provided in the Federal
Rules. A proof of claim may be filed either electronically or as a paper document. For information on how to file a
claim, visit the United States Bankruptcy Court − District of Delaware website at (http://www.deb.uscourts.gov), and
click on the "Programs & Services" tab − Claims Information.

Late filed claims may be paid after timely filed claims and therefore may not share ratably in any distribution from
the debtor's estate.




                                                                               Una O'Boyle, Clerk of Court




Dated: 3/24/23
(VAN−043)
